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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               TEXARKANA DIVISION


ROSIE L. DAVIS, et al.                                                      PLAINTIFFS


v.                                    No. 4:88-cv-4082


WILLIAM DALE FRANKS, et al.                                                  DEFENDANTS


     PLAINTIFFS’ RESPONSE IN OPPOSITION TO THE ARKANSAS
     DEPARTMENT OF EDUCATION AND BOARD OF EDUCATION’S
                    MOTION TO INTERVENE
       Plaintiffs, through undersigned counsel, submits the following Response in Opposition to

the Arkansas Department of Education and Board of Education’s Motion to Intervene:

       1.      On April 7, 2023, the Arkansas Department of Education and the Board of

Education (“Arkansas”) filed a Motion to Intervene and Declare Hope School District Unitary.

Doc. 211. On April 12, 2023, the Court entered an order establishing April 26, 2023, as the deadline

for any party to respond to the motion to intervene only. Doc. 214.

       2.      The Court should deny the motion to intervene because Arkansas has not shown

that the State has Article III standing or that it satisfies the requirements of Fed. R. Civ. Pro.

24(a)(2).

       WHEREFORE, the Court should deny Arkansas’ motion to intervene and grant all other

appropriate relief.

                                              Respectfully submitted,

                                              WALKER & CHILDS, PLLC
                                              1815 S. State Street
                                              Little Rock, Arkansas 72206

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                                 501-287-8680 (Telephone)
                                 501-222-8872 (Facsimile)
                                 Email: schilds@walkerandchilds.com

                                   Shawn G. Childs
                                 Shawn G. Childs, Bar No. 99058


                                 ATTORNEY FOR PLAINTIFFS




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